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                                              No. 25-1313

                          IN THE UNITED STATES COURT OF APPEALS
                                  FOR THE NINTH CIRCUIT


                                            PACITO, et al.,
                                                     Plaintiffs-Appellees,
                                                   v.
                                     DONALD J. TRUMP, et al.,
                                                 Defendants-Appellants.


                            On Appeal from the United States District Court
                                for the Western District of Washington
                                 District Court Case No. 2:25-cv-255


                    EMERGENCY MOTION PURSUANT TO CIRCUIT RULE 27-3
                              FOR STAY PENDING APPEAL
                          RELIEF REQUESTED BY MARCH 21, 2025


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                                  CIRCUIT RULE 27-3 CERTIFICATE

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             (2) Facts showing the existence and nature of emergency

                    As set forth more fully in the motion, the district court has entered a

             nationwide injunction enjoining an executive order issued by the President. The

             district court thought the issues presented were sufficiently urgent that he issued an

             oral nationwide injunction from the bench at a hearing on February 25, 2028,

             followed by a written order three days later.

                    The district court’s injunction prevents the President from exercising his

             authority under 8 U.S.C. §1182(f). That provision authorizes the President to

             “suspend the entry of … any class of aliens” “[w]henever [he] finds that [their] entry

             … would be detrimental to the interests of the United States.” 8 U.S.C. §1182(f).

             “By its terms, §1182(f) exudes deference to the President in every clause” and

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             provides a “comprehensive delegation” of authority. Trump v. Hawaii, 585 U.S. 667,

             684-85 (2018).

                    As explained below, the injunction is inflicting irreparable harm by preventing

             the Executive from exercising its authority regarding refugee admissions into the

             United States. It will have the effect of causing individuals to be granted refugee

             status that is difficult or impossible to reverse, even though the President has

             specifically determined that their entry into the U.S. is detrimental to the national

             interest. These harms will be compounded the longer that injunction is in place.

             (3) When and how counsel notified

                    Defendants’ counsel notified counsel for Plaintiffs by email on March 7, 2025,

             of Defendants’ intention to file this motion. On March 8, 2025, counsel for Plaintiffs’

             responded that they opposed Defendants’ motion. Service will be effected by

             electronic service through the CM/ECF system.

             (4) Submissions to the district court

                    Defendants requested a stay pending appeal from the district court twice. The

             government first requested a stay at the Preliminary Injunction hearing after the

             district court issued a nationwide injunction orally from the bench, which the district

             court described as “premature.”

                    After the district court issued its written preliminary injunction on February

             28, 2025, Defendants moved for a stay pending appeal the next business day on

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             Monday, March 3, 2025. In that filing, Defendants “respectfully request a ruling by

             the close of business on March 7, 2025,” and indicated that “after that time, if relief

             has not been granted, Defendants intend to seek relief from the U.S. Court of Appeals

             for the Ninth Circuit.” Dkt. 48 at 1.1

                     At a hearing on March 4, 2025, the district court indicated that it was not

             inclined to expedite ruling on Defendants’ stay motion. Plaintiffs’ response to

             Defendants’ motion for a stay pending appeal was filed on March 7, 2025. As of the

             filing of this motion, there has been no ruling on Defendants’ motion to stay with

             the district court.

             (5) Decision requested by

                     A decision on the motion for a stay pending appeal is requested as soon as

             possible, but no later than March 21, 2025.

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                 Docket citations are to No. 25-cv-255 unless otherwise noted.

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                                              INTRODUCTION

                    The district court issued a universal injunction overriding the President’s

             invocation of his statutory authority to suspend refugee entry into the United States.

             That holding directly contravenes Trump v. Hawaii, 585 U.S. 667 (2018), the plain

             text of the relevant immigration statutes, and bedrock principles of Article III and

             equity. It also causes ongoing and irreparable harm to the United States. This Court

             should therefore stay the order on an emergency basis pending appeal.

                    Supplementing the President’s inherent Article II authority, Congress has

             conferred on the President broad statutory authority to “suspend the entry of … any

             class of aliens” “[w]henever [he] finds that [their] entry … would be detrimental to

             the interests of the United States.” 8 U.S.C. §1182(f). “By its terms, §1182(f) exudes

             deference to the President in every clause”; it reflects a “comprehensive delegation”

             of authority from Congress to the President. Hawaii, 585 U.S. at 684-85.

                    Relying on that delegation, the President determined that “the United States

             has been inundated with record levels of migration” in recent years, and found that

             continued entry of refugees would be detrimental to the interests of the United States.

             The President accordingly invoked §1182(f) and other authorities to temporarily

             suspend the entry of refugees, subject to case-by-case exceptions. Exec. Order No.

             14163, Realigning the United States Refugee Admissions Program, 90 Fed. Reg.

             8,459 (Jan. 20, 2025) (“USRAP Order”) §§1, 3(c), 4.

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                    The district court held that the suspension was unlawful, principally on the

             ground that it supposedly conflicts with the “purpose and policy” of the Refugee Act

             and “eviscerates an entire statutory scheme, replacing it with the President’s

             unfettered discretion.” Add. 357-58. But that reasoning flouts Hawaii, which is

             controlling here. It further overlooks that both the Refugee Act (8 U.S.C. §1157) and

             §1182(f) are parts of the same “statutory scheme” (the Immigration and Nationality

             Act, or INA), and that §1182(f) authorizes the President to “impose entry restrictions

             in addition to those elsewhere enumerated in the INA,” Hawaii, 585 U.S. at 684

             (emphasis added). Plus, even on its own terms, the text of the Refugee Act confirms

             the President’s authority. It sets only a ceiling—not a floor—on the number of

             refugees to be admitted in any given year. And that ceiling is “such number as the

             President determines”—which could be zero. 8 U.S.C. §1157(a)(2).

                    Beyond its direct conflict with Hawaii, the district court’s universal injunction

             transgresses the power of district courts by setting refugee policy for the entire

             nation. That overbroad relief ignores this Court’s admonition to limit relief to

             “redress only the injury shown as to [Plaintiffs].” California v. Azar, 911 F.3d 558,

             584 (9th Cir. 2018). Indeed, this Court has repeatedly applied that rule to narrow

             nationwide injunctions in the immigration context. See, e.g., E. Bay Sanctuary

             Covenant v. Barr, 934 F.3d 1026, 1029 (9th Cir. 2019).




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                    The district court’s ruling suffers from additional errors too. The court

             wrongly overrode the decision of the President and Secretary of State to temporarily

             suspend foreign aid contracts to ensure they are consistent with administration

             priorities. Once that money is paid out, it likely can never be recovered. Moreover,

             the Court enjoined §4 of the USRAP Order, barring the President from obtaining the

             advice of his cabinet regarding the refugee program. That is an extraordinary

             violation of Article II’s Opinions Clause.

                    In short, the district court’s injunction rests on numerous clear-cut errors of

             law and stands in open defiance of the Supreme Court’s decision in Hawaii. Because

             those errors inflict irreparable harms upon the United States, this Court should grant

             a stay pending appeal as soon as possible.

                                              BACKGROUND

                    On January 20, 2025, the President issued the USRAP Order, suspending

             admission of refugees under the USRAP. The President determined that the “United

             States lacks the ability to absorb large numbers of migrants, and in particular,

             refugees, into its communities in a manner that does not compromise the availability

             of resources for Americans, that protects their safety and security, and that ensures

             the appropriate assimilation of refugees.” USRAP Order §1. As the President

             explained, “[o]ver the last 4 years, the United States has been inundated with record

             levels of migration, including through the” refugee program. Id. So the USRAP

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             Order suspended “decisions on applications for refugee status”—but allowed for

             admission of refugees on a case-by-case basis should the Secretaries of Homeland

             Security and State jointly determine such admission is in the national interest and

             would not threaten national security or welfare. Id. §3(c). The Order also set forth a

             process for resuming refugee admissions in the future after a review, to be conducted

             within 90 days, by the Secretaries of Homeland Security and State. Id. §4.

                    On the same day, the President also signed an order placing a 90-day pause in

             foreign development assistance to assess programmatic efficiencies, and to ensure

             that all foreign aid is consistent with foreign policy. See Exec. Order No. 14169,

             Reevaluating and Realigning United States Foreign Aid, 90 Fed. Reg. 8,610 (Jan.

             20, 2025) (“Foreign Aid Order”) §§2, 3. The Foreign Aid Order required agency

             heads to review each foreign assistance program to determine “whether to continue,

             modify, or cease each foreign assistance program.” Id. §3(b)-(c). The Foreign Aid

             Order authorizes the Secretary of State to waive the 90-day pause for specific grants

             and to resume programs prior to the end of the 90-day period. Id. §3(d)-(e). The

             Secretary issued an order to implement this policy, which included suspension of

             refugee-related cooperative agreements. See Add. 313-314.

                    Three weeks after the President issued these executive orders, three refugee

             service contractors and nine individuals filed suit challenging the refugee suspension

             and funding pause. See Dkt. 1.

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                    The district court orally issued a nationwide preliminary injunction from the

             bench on February 25, Dkt. 39, followed by a written order three days later, Dkt. 45.

             The court order prohibited Defendants from implementing §§3(a), 3(b), 3(c), and 4

             of the USRAP Order; suspending or implementing the suspension of refugee

             processing, decisions, and admissions; suspending or implementing the suspension

             of USRAP funds; and withholding reimbursements to resettlement partners for work

             performed prior to January 20, 2025. Add. 394.

                                                ARGUMENT

                    An immediate stay pending appeal is warranted because the government can

             demonstrate: (1) a strong likelihood of success; (2) irreparable harm absent a stay;

             (3) that Plaintiffs will not be substantially harmed by a stay; and (4) the public

             interest in a stay. Hilton v. Braunskill, 481 U.S. 770, 776 (1987).

                I. Defendants Are Likely To Succeed on Appeal

                The district court’s order is fundamentally flawed. Applicable law empowers the

             President to limit the entry of aliens into the country, and that power is heightened

             in the context of refugees. The court’s failure to appreciate that point led it down a

             path of cascading errors, terminating in a sweeping universal injunction that purports

             to vest the President’s powers in a single district judge. This preliminary injunction

             has no hope of withstanding scrutiny on appeal.




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                    A.      The USRAP Order is a valid exercise of the President’s broad
                            authority under 8 U.S.C. §1182(f).

                    1.      The USRAP Order and suspension of refugee processing are valid

             exercises of the broad authority Congress granted the President.

                    a.      Section 1182(f) provides that “[w]henever the President finds that the

             entry of … any class of aliens into the United States would be detrimental to the

             interests of the United States, he may … suspend entry of … any class of aliens …

             or impose on the entry of aliens any restrictions he may deem to be appropriate.” 8

             U.S.C. §1182(f); see also id. §1185(a)(1). Section 1182(f) “exudes deference to the

             President in every clause,” as it “entrusts to the President the decisions whether and

             when to suspend entry,” “whose entry to suspend,” “for how long,” and “on what

             conditions.” Hawaii, 585 U.S. at 684. Section 1185(a) further prohibits aliens,

             including refugees, from entering the United States “except under such reasonable

             rules, regulations, and orders, and subject to such limitations and exceptions as the

             President may prescribe.” 8 U.S.C. § 1185(a)(1); see Allende v. Shultz, 845 F.2d

             1111, 1118 & n.13 (1st Cir. 1988) (§§1182(f) and 1185(a) “grant the President vast

             power to exclude any individual alien or class of aliens whose entry might harm the

             national interest”). The “sole prerequisite” to the President’s exercise of authority

             under this “comprehensive delegation” is the determination that entry of the covered

             aliens into the United States “would be detrimental to the interests of the United

             States.” Hawaii, 585 U.S. at 685.
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                    Here, the President lawfully exercised this authority after making just such a

             finding, explaining that “the United States has been inundated with record levels of

             migration” in recent years and “lacks the ability to absorb large numbers of

             migrants[.]” USRAP Order §1. Under Hawaii, that is the end of the judicial inquiry.

                    But the district court marched on and premised its injunction on a finding that

             the USRAP Order was inconsistent with Congress’ intended statutory scheme. Add.

             357-58. In the district court’s view, notwithstanding the broad language of §1182(f),

             the President’s actions conflicted with the statute, including “its purpose and policy

             judgments.” Add. 357-59. That reasoning ignored Hawaii’s holding that “§1182(f)

             vests the President with ‘ample power’ to impose entry restrictions in addition to

             those elsewhere enumerated in the INA,” 585 U.S. at 684 (emphasis added). Indeed,

             the Supreme Court there rebuked lower courts for adopting just such a “cramped”

             reading of the President’s authority under §1182(f). Id. at 681. The decision below

             repeats the same reversible error.

                    In any event, the Refugee Act does not override or undermine the President’s

             expansive authority under §1182(f), as the court suggested. Add. 357-58. Just the

             opposite. The Refugee Act empowers the President to set a maximum number of

             refugee admissions to the United States, but does not provide any minimum or

             otherwise require the admission of any refugees. See 8 U.S.C. §1157(a)(2); see also

             id. §1201(h) (“Nothing in this chapter shall be construed to entitle any alien … to be

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             admitted [to] the United States”). The Act thus does not mandate any refugee

             admissions. As a result, the President did not “override particular provisions of the

             INA,” even “assum[ing]” such a limitation on the President’s §1182(f) authority

             existed. Hawaii, 585 U.S. at 689; see Doe 1 v. Jaddou, --- F. Supp. 3d ---, 2025 WL

             327368, at *3-4 (D. Md. Jan. 29, 2025) (holding that § 1157 confers discretionary

             authority to admit refugees, including “discretion over whether to implement this

             provision at all”) (quoting Gonzalez v. Cuccinelli, 985 F.3d 357, 367 (4th Cir.

             2021)). The refugee statute further requires the number of refugees to be “in the

             national interest,” id. §1157(a), which reinforces the President’s §1182(f) authority

             to suspend entry if it is not in the nation’s interest.

                    In short, to sustain the district court’s finding that the “USRAP EO eviscerates

             an entire statutory scheme, replacing it with the President’s unfettered discretion,”

             Add. 357, one must ignore both the plain language of the Refugee Act and §1182(f),

             both of which expressly charge the President with determining whether entry of

             additional aliens serves the national interest. The district court usurped that power.

                    b.      The district court also reasoned that the “USRAP EO lacks any…

             temporal limitation” and was thus unlawful. Add. 360. Once again, its reasoning is

             directly contrary to §1182(f) and Hawaii. The Hawaii Court made clear that when

             the President suspends entries under §1182(f), he “is not required to prescribe in

             advance a fixed end date for the entry restrictions.” 585 U.S. at 687. Instead,

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             §1182(f) “authorizes the President to suspend entry ‘for such period as he shall deem

             necessary,’” so the President “may link the duration of [entry] restrictions, implicitly

             or explicitly, to the resolution of the triggering condition.” Id. Indeed, “not one of

             the 43 suspension orders issued prior to [the Hawaii order by prior Presidents] ha[d]

             specified a precise end date.” Id. Nor did the Proclamation that Hawaii upheld have

             an end date; that suspension was to be reviewed every 180 days. Id. at 680.

                    Here, the President permissibly linked his decision to restrict refugee entry to

             the strain on American communities caused by “record levels of migration” over the

             past four years. USRAP Order §§1, 4. He further set a procedure and timeline for

             considering resumption—upon receipt of periodic reports from the Secretaries of

             State and Homeland Security to be submitted every 90 days (i.e., more frequently

             than the 180-day period approved in Hawaii). Id. §4. Under Hawaii, it is clear that

             §1182(f) requires nothing more. Hawaii, 585 U.S. at 687.

                    c.      Finally, the district court independently erred in enjoining §§3(c) and 4

             of the USRAP Order. Section 3(c) provides that “[n]otwithstanding” the rest of the

             Order, the agencies “may jointly determine to admit aliens to the United States as

             refugees on a case-by-case basis,” if certain conditions are met. On its face, §3(c) is

             incapable of causing Plaintiffs any harm. Its operation (if not enjoined) could only

             result in more individuals receiving refugee status. The district court never explained

             how an injunction against §3(c) was necessary to prevent irreparable harm.

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                    The injunction against §4 is even more problematic. That section requires the

             Secretary of Homeland Security to “submit a report to the President … whether

             resumption of entry of refugees into the United States under the USRAP would be

             in the interests of the United States” every 90 days. USRAP Order §4. The mere

             submission of reports obviously cannot cause Plaintiffs any harms, so the district

             court plainly lacked any basis to enjoin it.

                    Worse still, this portion of the injunction is patently unconstitutional. The

             Opinions Clause of the Constitution explicitly confers authority upon the President

             to “require the Opinion, in writing, of the principal Officer in each of the executive

             Departments.” U.S. Const. art. II, §2 cl.1. The district court’s belief that it could strip

             the President of this explicit constitutional authority under its incorrect interpretation

             of a statute is emblematic of the court’s profound misunderstanding of its appropriate

             role in the constitutional order. Cf. Trump v. New York, 592 U.S. 125, 133-34 (2020)

             (per curiam) (observing that district court’s injunction prohibiting the Secretary of

             Commerce from informing the President in a report of the number of aliens without

             lawful status “implicat[ed] the President’s authority under the Opinions Clause, U.S.

             Const., Art. II, § 2, cl. 1” and was impermissibly based on putative injury that

             plaintiffs may incur because of “action that the Secretary or President might take in

             the future”).




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                    2.      The district court further erred in finding the agencies’ steps to

             implement the USRAP Order, such as the suspension of refugee processing, to be

             arbitrary and capricious.

                    Most importantly, the court’s APA reasoning was almost entirely derivative

             of its statutory reasoning (which fails as explained above). If, for example, the

             President has validly exercised his §1182(f) authority to suspend refugee entries, it

             could hardly be arbitrary and capricious to suspend processing of applications for

             benefits that were ultimately precluded by the entry bar. Similarly, if the President

             validly barred new refugee entries as of January 27, it was not arbitrary and

             capricious to suspend travel on January 20 to prevent individuals from being

             stranded.2 (Nor could the court’s broad injunction be justified as a remedy for the

             small number of individuals affected by that putatively early implementation.) In

             short, once the statutory errors are corrected, the supposed APA violations disappear.

                    Even setting that aside, the court’s APA analysis was facially flawed on its

             own terms. At the outset, Plaintiffs failed to identify any discrete agency action,

             much less final agency action subject to judicial review. Plaintiffs instead mounted



             2
               The district court also faulted the agencies for not creating specific procedures for
             evaluating case-by-case exemptions under §3(c) of the USRAP Order. Add. 381.
             But there is nothing arbitrary about considering requests for case-by-case
             exemptions on a case-by-case basis (which necessarily requires individualized
             consideration).

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             a programmatic challenge to a large number of agency decisions administering the

             refugee program, such as working with resettlement agencies, managing refugee

             case processing, case decisions, admissions, travel, and provision of support services

             in and outside the United States. But Plaintiffs cannot seek “wholesale improvement

             of [a] program by court decree, rather than in the offices of the Department or the

             halls of Congress, where programmatic improvements are normally made.” Lujan v.

             Nat’l Wildlife Fed’n, 497 U.S. 871, 891 (1990). The APA certainly does not permit

             such challenges, lest it “become the task of the supervising court, rather than the

             agency, to work out compliance with the [agency’s] broad statutory mandate,

             injecting the judge into day-to-day agency management.” Norton v. SUWA, 542 U.S.

             55, 66-67 (2004).3

                    The district court also erroneously held that notice-and-comment rulemaking

             was required for the Secretary to suspend overseas refugee processing and

             admission. Even if the claim were justiciable, notice-and-comment rulemaking is

             not required because these are “foreign affairs functions” under 5 U.S.C. §553(a).

             Nor was the temporary suspension of overseas refugee processing a “substantive, or

             legislative, rule[]” subject to notice-and-comment rulemaking as the district court

             wrongly held. Add. 378-79.



             3
               The USRAP Order itself is not subject to APA review either, because the President
             is not an agency. See Franklin v. Massachusetts, 505 U.S. 788, 797-801 (1992).
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                    In any event, any purported APA errors would not provide a basis for the

             district court’s injunction absent its statutory authority holding. After all, enjoining

             agency implementing actions under the APA would provide no meaningful relief to

             Plaintiffs since they still would remain subject to the entry bar of §1182(f) and thus

             have no path to admission as a refugee. The validity of relief under the APA (and

             redressability for those claims) thus necessarily turns on the district court’s statutory

             reasoning, which as described above fails any meaningful scrutiny.

                     B.     The USRAP Order does not violate the Due Process Clause.

                    The district court also reasoned that the refugee suspension violates the Due

             Process Clause with respect to certain refugees who have relatives in the United

             States. Add. 384-85. This too is directly contrary to Supreme Court precedent, here

             Dep’t of State v. Muñoz, 602 U.S. 899 (2024). The Muñoz Court held that U.S.

             citizens do not have “procedural due process rights in the visa proceedings of

             others.” Id. at 917. Nor do citizens have a fundamental liberty interest in family

             members being admitted to the United States. Id. at 909.

                    The district court’s contrary ruling is based on a misreading of 8 U.S.C.

             §1157(c)(2)(A), which the court interpreted as creating a statutory entitlement to

             admission to the United States. Id. There is no such entitlement, and §1157(c)(2)(A)

             simply specifies that once a qualifying relative of a refugee is admitted, they will

             then have the same refugee status as their petitioner family member. Indeed, the

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             statute makes clear that the relative must “qualif[y] for admission” independently,

             id., and specifies that certain provisions of §1182 do not apply, but does not exclude

             application of §1182(f). Id. §1157(c)(3). In any event, like the other provisions of

             the INA authorizing admission, §1157(c) too is subject to a Presidential

             determination that entry would be detrimental to the interests of the United States.

             Hawaii, 585 U.S. at 684. The Due Process Clause cannot support this injunction.

                    C.      The district court also erred with respect to Plaintiffs’ funding
                            claims.

                    Defendants are also likely to succeed in challenging the parts of the injunction

             prohibiting the suspension of USRAP funds and mandating reimbursements for

             work performed before January 20, 2025.

                    With respect to payment for past work, the district court lacked jurisdiction to

             enjoin Defendants from “[w]ithholding reimbursements to resettlement partners for

             USRAP-related work performed pursuant to cooperative agreements before January

             20, 2025.” Add. 394. If Plaintiffs believe that the government has failed to make

             timely payments for prior services under contracts, Plaintiffs must pursue these

             claims through specified administrative processes and the Court of Federal Claims,

             and cannot recast them as APA claims. Tucson Airport Auth. v. Gen. Dynamics

             Corp., 136 F.3d 641, 646 (9th Cir. 1998) (Court of Federal Claims has “exclusive

             jurisdiction to award money damages, and impliedly forbids declaratory and

             injunctive relief and precludes a §702 waiver of sovereign immunity”).
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                    The district court reasoned that “when a party suing the federal government

             ‘seeks funds to which a statute allegedly entitles it, rather than money in

             compensation for the losses,’ such claim is not excepted from Section 702’s

             sovereign-immunity waiver.” Add. 373 (citing Bowen v. Massachusetts, 487 U.S.

             879, 893 (1988)) (alteration omitted). But Plaintiffs here cannot argue (and have not

             argued) that any statute “entitles” them to payment. In all events, the Supreme Court

             has since made clear that “Bowen has no bearing on the unavailability of an

             injunction to enforce a contractual obligation to pay money past due.” Great-West

             Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 212 (2002).

                    With respect to work and agreements going forward, the court relied on §1522

             of the INA, which it believed “create[s] a federally funded system to support

             domestic refugee resettlement.” Add. 375. But §1522 merely authorizes a program

             of refugee resettlement funding, rather than requiring one. It provides that the

             “Director ... is authorized to make grants to, and contracts with, public or private

             nonprofit agencies for initial resettlement ... of refugees in the United States,” 8

             U.S.C. §1522(b)(1)(A)(ii) (emphasis added)—not that he must do so. Indeed, no

             provision of the INA requires that any grant or contract be made by the Director. To

             the contrary, the President may “determine[] that the Director should not administer

             the program” and may assign responsibilities to other officers. Id. §1522(b)(1)(B).




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                    The district court relied on two provisions of §1522: one that imposes various

             requirements on grantees in specifying what grants “shall require,” §1522(b)(7), and

             another that imposes limits on the Director “[i]n providing assistance under this

             section,” §1522(a)(1)(A). But neither creates any statutory mandates. Neither

             requires the Secretary or the Director to make any grants in the first place, or creates

             any right to specific assistance or grants. These provisions do not confer any rights

             upon refugees, much less on Plaintiffs or similar nonprofits. Instead, §1522(a)(1)(A)

             was designed to ensure the Director did not spend unwisely, by requiring any grants

             issued to prioritize rapid assimilation to avoid extended reliance on cash payments

             from the government. See §1522(a)(1)(A) (any cash payments must be made “in a

             manner so as not to discourage their economic self-sufficiency”). The district court

             misread this language to create a right to cash payments and various other benefits.

                    Nor were Defendants’ actions pausing agency funding per the Foreign Aid

             Order arbitrary and capricious, even assuming arbitrary-and-capricious review were

             appropriate. The court insisted that the Foreign Aid Order calls only for a pause in

             “foreign development assistance” and therefore should not have been applied to

             suspend domestic USRAP programs. Add. 369. But the refugee program as a whole

             is a foreign affairs program, so it is of no moment that some of the funds go to aid

             foreign citizens who are living on U.S. soil as refugees. See Pub. L. No. 96-212,

             §101(a) (“Congress… encourage[s] all nations to provide assistance and

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             resettlement opportunities to refugees”). This is reflected in the way Congress

             appropriates funding, routing all refugee funding through the State Department.

             Add. 304. At minimum, the court’s logic would only have supported an injunction

             as to domestic refugee spending; it instead forbade suspending any of it.

                    The district court also complained that the State Department “apparently did

             not consider reasonable alternatives” such as an individualized review of cooperative

             agreements. Add. 383. But the whole point of the suspension was to carry out such

             an individualized review. The district court’s order failed to acknowledge that

             justification and, counterintuitively, upended that deliberative process.

                    In all events, Plaintiffs have since moved for additional injunctive relief in the

             district court on the basis that their suspended agreements have now been terminated

             following an individualized review; that request is currently being briefed. See Dkts.

             57, 60. It is meritless for the reasons just discussed. But this factual development

             also underscores that the funding provisions of the injunction should be stayed: Any

             injury Plaintiffs might have suffered from a “suspension of USRAP funds” no longer

             exists after terminations of their contracts, and are therefore no longer redressable.

                                                  *     *      *

                    This injunction is rife with errors, all of which build on basic misapprehension

             of the broad statutory delegations to the President. The end result is that a single

             district judge has co-opted federal refugee policy. This order cannot stand.

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                II.      The Equitable Factors Favor a Stay

                      The injunction imposes irreparable harm on the government and public,

             whose interests merge here, Nken v. Holder, 556 U.S. 418, 435 (2009). Whenever a

             district court issues a universal injunction against the Executive Branch, the United

             States suffers a form of irreparable harm. The President is “a representative of the

             people” and holds “the mandate of the people to exercise his executive power.”

             Myers v. United States 272 U.S. 52, 123 (1926). The government has a substantial

             interest in carrying out the President’s policies. Courts play an important role in

             adjudicating the lawfulness of those policies in justiciable cases, but they irreparably

             injure our democratic system when they forbid the government from effectuating

             those policies against anyone anywhere in the Nation. Cf. Maryland v. King, 567

             U.S. 1301, 1303 (2012) (Roberts, C.J., in chambers). And those concerns are

             heightened when, as here, the injunction undermines the Executive Branch’s

             constitutional and statutory authority over immigration and the admission of aliens,

             and thereby constitutes an “unwarranted judicial interference in the conduct of

             foreign policy.” Kiobel v. Royal Dutch Petroleum, 569 U.S. 108, 116 (2013).

                      The irreparable harm here is not merely abstract. The injunction effectively

             requires the admission as refugees of some individuals whose admission the

             President has determined is not in the national interest, contrary to the Refugee Act

             itself, 8 U.S.C. §§1157(a)(2), (e). That harm is irreparable and particularly acute

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             because refugee status, once granted, is as a practical matter difficult or impossible

             to reverse; the sole basis for revoking refugee status is upon a determination that the

             alien was “not in fact a refugee … at the time of the alien’s admission,” 8 U.S.C.

             §1157(c)(4); see 8 C.F.R. §207.9, and refugees generally are entitled to be admitted

             as permanent residents after one year, see 8 U.S.C. §1159.

                    On the other side of the balance, a stay of the district court’s injunction will

             not irreparably harm Plaintiffs. Refugee status is a purely discretionary benefit, see

             8 U.S.C. §1157(c)(1), and being denied a benefit to which one is not entitled in the

             first place cannot qualify as irreparable harm. Plus, under §3(c) of the USRAP Order,

             the relevant officials retain discretion to grant refugee status “[n]otwithstanding the

             suspension,” so Plaintiffs cannot claim irreparable harm on that front either.

                    Moreover, plaintiffs have not demonstrated a risk of sufficient harm because,

             with one exception, the individual Plaintiffs have been waiting for months or years

             for possible admission to the United States in a third country—not in their home

             countries where they claim to have faced persecution. Add. 149-214; cf. Nken, 556

             U.S. at 435 (“Although removal is a serious burden for many aliens, it is not

             categorically irreparable.”). The one individual who remains in his home country,

             Iraq, based his claim of persecution on an event that occurred 15 years ago at a time

             of extreme instability, but has lived there safely since that time. Add. 179-86.




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                    For their part, the organizational Plaintiffs assert only monetary harms, which

             are not irreparable. See, e.g., Walters v. Reno, 145 F.3d 1032, 1048 (9th Cir. 1998)

             (“Injunctive relief is proper only if monetary damages or other legal remedies will

             not compensate the plaintiffs for their injuries.”). Indeed, these Plaintiffs can seek

             payment for outstanding services rendered in the Court of Federal Claims. They are

             further operating under cooperative agreements that the Secretary may terminate at

             any time if the awards “no longer effectuate[] the program goals or agency priorities”

             2 C.F.R. §200.340—and indeed have now been terminated. See Dkts. 57, 58. So they

             also lack a legal basis for the funds they now seek.

                    Under these circumstances, the balance of equities strongly favors a stay.

                III.   At a Minimum, the Nationwide Aspect of the Injunction Should Be
                       Stayed

                    If nothing else, a nationwide injunction was improper here and wholly

             unnecessary to provide relief to the plaintiffs. Nationwide or universal remedies

             exceed “the power of Article III courts,” conflict with “longstanding limits on

             equitable relief,” and impose a severe “toll on the federal court system.” Hawaii,

             585 U.S. at 713 (Thomas, J., concurring); see Califano v. Yamasaki, 442 U.S. 682,

             702 (1979) (reiterating the “rule that injunctive relief should be no more burdensome

             to the defendant than necessary to provide complete relief to the plaintiffs”);

             California, 911 F.3d at 584 (courts should limit relief to “redress only the injury

             shown as to [Plaintiffs]”).
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                    In purporting to set refugee policy for the entire nation, the district court

             reasoned that a nationwide injunction was proper since the dispute involved

             immigration law. Add. 393. This is flatly contrary to this Court’s precedents, which

             require lower courts to redress only the injury shown as to plaintiffs in immigration

             cases. See E. Bay Sanctuary, 934 F.3d at 1029 (citing Azar for the proposition that

             an injunction must be “narrowly tailored to remedy the specific harms shown”).

             Such overbroad relief allows “one district [to] make a binding judgment for the entire

             country,” Louisiana v. Becerra, 20 F.4th 260, 263 (5th Cir. 2021), a role that is

             particularly inappropriate in the area of immigration and foreign policy, where it is

             the political branches that are charged with making those judgments. At most, the

             court should have enjoined the suspension of processing of the individual plaintiffs,

             and the suspension of contracts with the organizational plaintiffs.

                    The district court’s cited bases for universal relief are particularly problematic

             here: (1) this Court’s opinion that was vacated by the Supreme Court in a prior

             decision in Hawaii, and (2) the dissent in Hawaii. Add. 393 (“[T]he imposition of a

             nationwide injunction was ‘necessary to provide complete relief to the plaintiffs.’”)

             (quoting Hawaii, 585 U.S. at 751 n.13 (Sotomayor, J., dissenting) (alteration

             omitted)); id. (citing Hawaii v. Trump, 859 F.3d 741, 788 (9th Cir.), vacated and

             remanded, 583 U.S. 941 (2017)). To state the obvious, neither vacated decisions nor

             dissenting opinions can sustain the district court’s universal injunction here.

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                                              CONCLUSION

                    The Court should grant a stay pending appeal.



                                                      Respectfully submitted,

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                                   CERTIFICATE OF COMPLIANCE

                    Pursuant to Federal Rule of Appellate Procedure 27, I certify that foregoing

             motion complies with the type-volume limitation because it contains 5,072 words.

             This motion also complies with the typeface and type style requirements because it

             is proportionately spaced and has a 14-point Times New Roman typeface.



                                                 /s/ Nancy K. Canter
                                                 NANCY K. CANTER
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                                      CERTIFICATE OF SERVICE

                    I hereby certify that on March 8, 2025, counsel for Respondent electronically

             filed the foregoing with the Clerk of the Court for the United States Court of Appeals

             for the Ninth Circuit by using the CM/ECF system and that service will be

             accomplished via the CM/ECF system.


                                                       /s/ Nancy K. Canter
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